916 F.2d 710Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert HOLLOWAY, Petitioner-Appellant,v.Richard SINGLETON, Warden, Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 90-6097.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 31, 1990.Decided Oct. 24, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CA-89-2517-K)
      Robert Holloway, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before K.K. HALL, PHILLIPS and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Holloway seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Holloway v. Singleton, CA-89-2517-K (D.Md. June 25, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    